Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 1 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 2 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 3 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 4 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 5 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 6 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 7 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 8 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 9 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 10 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 11 of 13




       Sept. 12 '08
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 12 of 13
Case 3:07-cv-05944-JST Document 379 Filed 09/12/08 Page 13 of 13
